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 5
     Attorney for Defendant
 6   VI TRUONG
 7
 8                               UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        Case No. 2:09-cr-00421 GEB
12                  Plaintiff,                        STIPULATION AND [PROPOSED]
                                                      ORDER RESCHEDULING PARTIES’
13            v.                                      APPEARANCE AND EXCLUDING
                                                      TIME UNDER SPEEDY TRIAL ACT
14   VI TRUONG,
15              Defendant.
     ______________________________/
16
17            IT IS RESPECTFULLY REQUESTED, by defendant Vi Truong and plaintiff United
18   States of America, through their respective counsel, that the Court vacate the currently
19   scheduled date of April 13, 2012, at 9:00 a.m., and reset it for July 13, 2012, at 9:00 a.m.
20   Counsel for Mr. Truong has a personal familial matter, and therefore respectfully requests
21   that the April 13, 2012 date be reset.
22            THE PARTIES STIPULATE that time should be excluded from April 13, 2012,
23   through July 13, 2012, when the Court computes the time within which the trial of the above
24   criminal prosecution must commence for purposes of the Speedy Trial Act. The parties
25   stipulate that the ends of justice served by granting defendant’s request for a continuance
26   outweigh the best interest of the public and the defendant in a speedy trial, and that this is an
27   appropriate exclusion of time within the meaning of 18 U.S.C. section 3161(h)(7)(A) and (B)
28   //
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 1   (Local Code T4).
 2
           IT IS SO STIPULATED
 3
 4   Dated: April 12, 2012                   /s/ Douglas Horngrad
                                             DOUGLAS HORNGRAD
 5                                           Attorney for Defendant
                                             VI TRUONG
 6
 7
     Dated: April 12, 2012                   /s/ with consent
 8                                           JASON HITT
                                             Assistant United States Attorney
 9
10
                                            ORDER
11
           IT IS SO ORDERED. The Court further orders that time is excluded from April 13,
12
     2012, through July 13, 2012, pursuant to 18 U.S.C. section 3161(h)(7)(A) and (B) (Local
13
     Code T4).
14
15   Dated: April 12, 2012

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17                                        GARLAND E. BURRELL, JR.
                                          United States District Judge
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